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               IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

 IN RE:                                           CHAPTER 7

 MICHAEL SCOT FLECK,                              Case No. 21-54965-LRC

        Debtor.
 S. GREGORY HAYS, Chapter 7 Trustee
 for the Estate of Michael Scot Fleck,

               Plaintiff,                         Adv. Pro. No. 21-05150-LRC

                   v.

 JPMORGAN CHASE BANK, N.A. and
 FIGURE LENDING LLC,

               Defendants.

                   DEFENDANT FIGURE LENDING LLC’S
                  ANSWER TO THE AMENDED COMPLAINT

         Defendant Figure Lending, LLC (“Figure”), by and through its undersigned

counsel, hereby answers Plaintiff’s, S. Gregory Hays, Chapter 7 Trustee for the

Estate of Michael Scot Fleck (“Trustee” or “Plaintiff”), Amended Complaint (Dkt.

#11), and states that any allegation not specifically responded to in this Answer is

denied, including allegations or statements in unnumbered headings and

subheadings in the Amended Complaint.




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         Each paragraph below corresponds to the paragraph numbered in the

Amended Complaint.

         RESPONSES TO ALLEGATIONS IN AMENDED COMPLAINT

         1.   Admitted.

         2.   Admitted.

         3.   Admitted.

         4.   Figure admits that venue is proper.

         5.   Figure does not consent to the entry of any final orders or judgments

              by this Court if it is determined that this Court, absent consent of the

              parties, cannot enter final orders or judgments consistent with Article

              III of the United States Constitution.

         6.   Figure admits that jurisdiction is proper.

                                   Statement of Facts

                              A.     General Background

         7.   Admitted.

         8.   Admitted.

         9.   Figure lacks sufficient information to admit or deny the allegations of

              paragraph 9. To the extent a response is required, denied.



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                       B.        Debtor’s Purchase of the Property

         10.   Figure lacks sufficient information to admit or deny the allegations of

               paragraph 10. To the extent a response is require, denied.

         11.   Figure lacks sufficient information to admit or deny the allegations of

               paragraph 11. To the extent a response is required, denied.

         12.   Figure lacks sufficient information to admit or deny the allegations of

               paragraph 12. To the extent a response is required, denied.

         13.   Figure lacks sufficient information to admit or deny the allegations of

               paragraph 13. To the extent a response is required, denied.

                            C.      The Subject Security Deeds

1.       The First Security Deed

         14.   Figure lacks sufficient information to admit or deny the allegations of

               paragraph 14. To the extent a response is required, denied.

         15.   Figure lacks sufficient information to admit or deny the allegations of

               paragraph 15. To the extent a response is required, denied.

         16.   Figure lacks sufficient information to admit or deny the allegations of

               paragraph 16. To the extent a response is required, denied.

         17.   Figure lacks sufficient information to admit or deny the allegations of

               paragraph 17. To the extent a response is required, denied.


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         18.   Figure lacks sufficient information to admit or deny the allegations of

               paragraph 18. To the extent a response is required, denied.

         19.   Figure lacks sufficient information to admit or deny the allegations of

               paragraph 19. To the extent a response is required, denied.

         20.   Figure lacks sufficient information to admit or deny the allegations of

               paragraph 20. To the extent a response is required, denied.

         21.   Figure lacks sufficient information to admit or deny the allegations of

               paragraph 21. To the extent a response is required, denied.

         22.   Figure lacks sufficient information to admit or deny the allegations of

               paragraph 22. To the extent a response is required, denied.

         23.   Figure lacks sufficient information to admit or deny the allegations of

               paragraph 23. To the extent a response is required, denied.

         24.   Figure lacks sufficient information to admit or deny the allegations of

               paragraph 24. To the extent a response is required, denied.

         25.   Figure lacks sufficient information to admit or deny the allegations of

               paragraph 25. To the extent a response is required, denied.

         26.   Figure lacks sufficient information to admit or deny the allegations of

               paragraph 26. To the extent a response is required, denied.




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         27.   Figure lacks sufficient information to admit or deny the allegations of

               paragraph 27. To the extent a response is required, denied.

         28.   Figure lacks sufficient information to admit or deny the allegations of

               paragraph 28. To the extent a response is required, denied.

         29.   Figure lacks sufficient information to admit or deny the allegations of

               paragraph 29. To the extent a response is required, denied.

         30.   Figure lacks sufficient information to admit or deny the allegations of

               paragraph 30. To the extent a response is required, denied.

         31.   Figure lacks sufficient information to admit or deny the allegations of

               paragraph 31. To the extent a response is required, denied.

2.       The Second Security Deed

         32.   Admitted.

         33.   Admitted.

         34.   Admitted.

         35.   Denied.

         36.   Figure admits that the Figure Security Deed contains a certification by

               Michael Cook, who was a State of Nevada notary public. The

               remainder of the allegations contained in paragraph 36 are denied.

         37.   Admitted.


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         38.   Figure lacks sufficient information to admit or deny the allegations of

               paragraph 38. To the extent a response is required, denied.

         39.   Figure lacks sufficient information to admit or deny the allegations of

               paragraph 39. To the extent a response is required, denied.

         40.   Figure lacks sufficient information to admit or deny the allegations of

               paragraph 40. To the extent a response is required, denied.

         41.   Figure denies that an affidavit is required to be filed in the Real Estate

               Records. The remaining allegations contained in paragraph 41 are

               denied.

         42.   Denied.

         43.   Denied.

D.       Debtor’s Pre-Petition Sale of the Property

         44.   Admitted.

         45.   Denied.

         46.   Figure lacks sufficient information to admit or deny the allegations of

               paragraph 46. To the extent a response is required, denied.

         47.   Figure denies the allegations of paragraph 47 as stated. Figure admits

               that Debtor sold the property on May 5, 2021, and that Figure’s




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                security interest in the Property was satisfied by the purchaser of the

                Property.

         48.    Figure lacks sufficient information to admit or deny the allegations of

                paragraph 48. To the extent a response is required, denied.

         49.    Figure lacks sufficient information to admit or deny the allegations of

                paragraph 49. To the extent a response is required, denied.

         50.    Figure lacks sufficient information to admit or deny the allegations of

                paragraph 50. To the extent a response is required, denied.

         51.    Figure lacks sufficient information to admit or deny the allegations of

                paragraph 51.

         52.    Figure lacks sufficient information to admit or deny the allegations of

                paragraph 52. To the extent a response is required, denied.

         53.    Figure lacks sufficient information to admit or deny the allegations of

                paragraph 53. To the extent a response is required, denied.

                                        COUNT 1

               Claim to Avoid the First Transfer Under 11 U.S.C. § 547

         54.    Figure realleges and incorporates by reference the foregoing responses

                to paragraphs 1 through 53 of the Amended Complaint.

         55.    Denied.


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         56.   Denied.

         57.   Figure lacks sufficient information to admit or deny the allegations of

               paragraph 57. To the extent a response is required, denied.

         58.   Figure lacks sufficient information to admit or deny the allegations of

               paragraph 58. To the extent a response is required, denied.

         59.   Figure lacks sufficient information to admit or deny the allegations of

               paragraph 59. To the extent a response is required, denied.

         60.   Figure lacks sufficient information to admit or deny the allegations of

               paragraph 60. To the extent a response is required, denied.

         61.   Figure lacks sufficient information to admit or deny the allegations of

               paragraph 61. To the extent a response is required, denied.

         62.   Figure lacks sufficient information to admit or deny the allegations of

               paragraph 62. To the extent a response is required, denied.

         63.   Figure lacks sufficient information to admit or deny the allegations of

               paragraph 63. To the extent a response is required, denied.

                                      COUNT II

                 Claim for Preservation of Avoided First Transfer
                              Under 11 U.S.C. § 551

         64.   Figure realleges and incorporates by reference the foregoing responses

               to paragraphs 1 through 63 of the Amended Complaint.
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         65.   Figure lacks sufficient information to admit or deny the allegations of

               paragraph 65. To the extent a response is required, denied.

                                      COUNT III

                         Claim to Avoid the Second Transfer
                               Under 11 U.S.C. § 547

         66.   Figure realleges and incorporations by reference the foregoing

               responses to paragraphs 1 through 53 of the Amended Complaint.

         67.   Denied.

         68.   Denied.

         69.   Denied.

         70.   Admitted.

         71.   Denied.

         72.   Figure lacks sufficient information to admit or deny the allegations of

               paragraph 62. To the extent a response is required, denied.

         73.   Denied.

         74.   Denied.

         75.   Denied.




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                                      COUNT IV

                Claim for Preservation of Avoided Second Transfer
                              Under 11 U.S.C. § 511

         76.   Figure realleges and incorporates by reference the foregoing responses

               to paragraphs 1 through 53 and paragraphs 66 through 75 of the

               Amended Complaint.

         77.   Denied.

                                      COUNT V

                         Claim to Avoid the Chase Payment
                               Under 11 U.S.C. § 551

         78.   Figure realleges and incorporates by reference the foregoing responses

               to paragraphs 1 through 65 of the Amended Complaint.

         79.   Figure lacks sufficient information to admit or deny the allegations of

               paragraph 79. To the extent a response is required, denied.

         80.   Figure lacks sufficient information to admit or deny the allegations of

               paragraph 80. To the extent a response is required, denied.

         81.   Figure lacks sufficient information to admit or deny the allegations of

               paragraph 81. To the extent a response is required, denied.

         82.   Figure lacks sufficient information to admit or deny the allegations of

               paragraph 82. To the extent a response is required, denied.


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         83.   Figure lacks sufficient information to admit or deny the allegations of

               paragraph 83. To the extent a response is required, denied.

         84.   Figure lacks sufficient information to admit or deny the allegations of

               paragraph 84. To the extent a response is required, denied.

         85.   Figure lacks sufficient information to admit or deny the allegations of

               paragraph 85. To the extent a response is required, denied.

                                      COUNT VI

                           Claim for Recovery from Chase
                              Under 11 U.S.C. § 550(a)

         86.   Figure realleges and incorporates by reference the foregoing responses

               to paragraphs 1 through 65 and paragraphs 78 through 85 of the

               Amended Complaint.

         87.   Figure lacks sufficient information to admit or deny the allegations of

               paragraph 87. To the extent a response is required, denied.

         88.   Denied.




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                                     COUNT VII

                Claim for Preservation of Avoided Chase Payment
                             Under 11 U.S.C. § 551

         89.   Figure realleges and incorporates by reference the foregoing responses

               to paragraphs 1 through 65 and paragraphs 78 through 88 of the

               Amended Complaint.

         90.   Figure lacks sufficient information to admit or deny the allegations of

               paragraph 90. To the extent a response is required, denied.

                                    COUNT VIII

                         Claim to Avoid the Figure Payment
                               Under 11 U.S.C. § 547

         91.   Figure realleges and incorporates by reference the foregoing responses

               to paragraphs 1 through 53 and paragraphs 66 through 77 of the

               Amended Complaint.

         92.   Denied.

         93.   Denied.

         94.   Denied.

         95.   Figure lacks sufficient information to admit or deny the allegations of

               paragraph 95. To the extent a response is required, denied.

         96.   Admitted.


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         97.   Denied.

         98.   Denied.

                                     COUNT IX

                     Claim for Recovery from Figure Lending
                             Under 11 U.S.C. § 550(a)

         99.   Figure realleges and incorporates by reference the foregoing responses

               to paragraphs 1 through 53, paragraphs 66 through 77, and paragraphs

               91 through 98 of the Amended Complaint.

         100. Denied.

         101. Denied.

                                      COUNT X

                Claim for Preservation of Avoided Figure Payment
                              Under 11 U.S.C. § 551

         102. Figure realleges and incorporated by reference the foregoing

               responses to paragraphs 1 through 53, paragraphs 66 through 77, and

               paragraphs 91 through 101 of the Amended Complaint.

         103. Denied.

                                   Reservation of Rights

         104. Paragraph 104 does not include any allegation. To the extent a

               response to paragraph 104 is required, denied.


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         105. Figure denies that the Trustee is entitled to the relief sought in the

               “WHEREFORE” paragraph of the Amended Complaint, including

               subparts.

         106. Figure denies any and all allegations in the Amended Complaint not

               specifically admitted herein.

                             AFFIRMATIVE DEFENSES

                                First Affirmative Defense

         The Amended Complaint fails to state a claim or cause of action upon which

relief may be granted against Figure.

                              Second Affirmative Defense

         The transfer Plaintiff seeks to avoid falls within the exception of 11 U.S.C.

§ 547(c)(1).

                                Third Affirmative Defense

         The transfer Plaintiff seeks to avoid falls within the exception of 11 U.S.C. §

547(c)(4).

                              Fourth Affirmative Defense

         The Trustee cannot recover from Figure to the extent that Figure is a

transferee for value, in good faith and without knowledge of the voidability of any

transfer, as provided by 11 U.S.C. § 550(b)(1).
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                                Fifth Affirmative Defense

         In the alternative, the transfer which Trustee seeks to avoid was not a ransfer

by the Debtor, but rather, a required transfer by the purchaser of the Property so as

to convey marketable title to purchaser and, potentially, so as to allow purchaser's

lender to obtain a first priority security interest.

                                Sixth Affirmative Defense

         Figure reserves the right to allege further affirmative defenses as they may

become known.

             Dated: March 7, 2022

                                                 Respectfully submitted,

                                                 TAYLOR ENGLISH DUMA LLP

                                                 /s/ John K. Rezac
                                                 John K. Rezac
                                                 Georgia Bar No. 601935
                                                 Email: jrezac@taylorenglish.com
                                                 1600 Parkwood Circle, Suite 200
                                                 Atlanta, Georgia 30339
                                                 Telephone: (770) 434-6868
                                                 Facsimile: (770) 434-7376




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                                             Joseph M. Katz
                                             WEINER BRODSKY KIDER PC
                                             Admitted Pro Hac Vice
                                             Email: katz@thewbkfirm.com
                                             1300 19th Street, N.W., Suite 500
                                             Washington, DC 20036
                                             Telephone: (202) 628-2000

                                             Counsel for Defendant
                                             Figure Lending, LLC




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                          CERTIFICATE OF SERVICE

         I hereby certify that on March 7, 2022, a copy of the foregoing DEFENDANT

FIGURE LENDING LLC’S ANSWER TO THE AMENDED COMPLAINT was filed

electronically via the CM/ECF system, which will provide service to all parties of

record.

                                               TAYLOR ENGLISH DUMA LLP

                                               /s/ John K. Rezac
                                               John K. Rezac
                                               Georgia Bar No. 601935
                                               Email: jrezac@taylorenglish.com
                                               1600 Parkwood Circle, Suite 200
                                               Atlanta, Georgia 30339
                                               Telephone: (770) 434-6868
                                               Facsimile: (770) 434-7376




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